         Case 1:17-cr-00201-ABJ Document 191 Filed 02/22/18 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                           Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

               Defendant.


                    NOTICE OF FILING OF REDACTED DOCUMENT

       Pursuant to the Court’s February 21, 2018, Minute Order, the government hereby files a

redacted version of its response to Manafort’s second supplemental memorandum to his motion

for reconsideration of conditions of release (Dkt. No. 179-1).

       Since filing its sealed response, counsel for the government has learned from counsel for

UBS that: (a) on February 20, 2018, UBS received a payment from Manafort, dated February 2,

2018, and (b) the mortgage balance still remains past due, in that the payment brought the balance

due on December 1 and January 1 current, but Manafort has not paid the amount due on February

1.

                                                     Respectfully submitted,

                                                     ROBERT S. MUELLER III
                                                     Special Counsel

Dated: February 22, 2018                     By:     __/s/__Kyle R. Freeny___
                                                     Andrew Weissmann
                                                     Greg D. Andres (D.D.C. Bar No. 459221)
                                                     Kyle R. Freeny
                                                     U.S. Department of Justice
                                                     Special Counsel’s Office
                                                     950 Pennsylvania Avenue NW
                                                     Washington, DC 20530
                                                     Telephone: (202) 616-0800

                                                     Attorneys for the United States of America
         Case 1:17-cr-00201-ABJ Document 191-1 Filed 02/22/18 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                v.
                                            Crim. No. 17-201-1 (ABJ)
 PAUL J. MANAFORT, JR.,

                                            FILED UNDER SEAL
                Defendant.



                 GOVERNMENT’S RESPONSE TO MANAFORT’S
          SECOND SUPPLEMENTAL MEMORANDUM TO HIS MOTION FOR
               RECONSIDERATION OF CONDITIONS OF RELEASE

        The United States of America, by and through Special Counsel Robert S. Mueller, III,

hereby files this response to Manafort’s second supplemental memorandum to his motion for

reconsideration of conditions of release (Second Supplemental Memorandum) [Dkt. No. 179-1].

This response supplements the government’s response to Manafort’s proposed new bail package

[Dkt. Nos. 175 and 183] with additional information related to several issues that arose in

connection with Manafort’s proposal after the government’s original filing.

I.      Collateralization of the Bridgehampton Mortgage

        In his Second Supplemental Memorandum, Manafort relies on a letter submitted by his real

estate attorney to argue that the Alexandria property he seeks to post as security is “merely

additional collateral [for the   million loan with The Federal Savings Bank] with no expectation

that its foreclosure would be necessary in the event of default.” Id. at 2. But neither Manafort nor

his real estate attorney points to any language in the real estate transactional documents that

restricts the right of The Federal Savings Bank (TFSB) from exercising its rights with respect to

either property offered as collateral, in whatever sequence the bank determines to be appropriate.
        Case 1:17-cr-00201-ABJ Document 191-1 Filed 02/22/18 Page 2 of 4



       In its own review of the transactional documents, the government has been unable to find

any language designating the Bridgehampton property as priority collateral or restricting the right

of the bank to proceed against the Alexandria property first. For example, the Fixed/Adjustable

Rate Rider (attached as Ex. B to the                 Letter) indicates that both properties secure the

Note, without restriction or any reference to one having priority over the other. Additionally, the

Deed of Trust (a copy of which is appended hereto as Exhibit A) provides that the borrower

“irrevocably grants and conveys to the Trustee, in trust, with power of sale, the following described

property located in the City of Alexandria, Virginia,” to wit, the Alexandria property. And it does

so with no suggestion that this power of sale is subject to the requirement that the bank or trustee

proceed first against the Bridgehampton property.

       Additionally, counsel for the government has spoken with counsel for TFSB, who

represented that it is the position of the bank that both the Bridgehampton property and the

Alexandria property are equal collateral for the loan, and in the event of default, the bank could

proceed against one or the other properties, or both, without restriction on the sequencing.

       Ultimately, the Court need not resolve this legal dispute between Manafort and the bank.

The very existence of such a dispute, together with the absence of any clear language in the

transactional documents supporting Manafort’s position, is sufficient ground to find that the

Alexandria property, which is valued far less than the mortgage it secures, 1 is not suitable security

for the bond (absent the contemporaneous posting of the Bridgehampton property).

       As the government noted in its earlier filing, the risk of foreclosure on the Alexandria

property is exacerbated by the evidence that Manafort secured the loan by fraud. This risk is




1
 This is true even if the    held in an account at TFSB as additional collateral for the loan,
see Supplemental Memorandum at 2, were added to the value of the Alexandria property.
                                                 2
        Case 1:17-cr-00201-ABJ Document 191-1 Filed 02/22/18 Page 3 of 4



confirmed by the attached Deed of Trust, which provides for default on the loan in the event the

borrower or anyone acting at the borrower’s direction “gave materially false, misleading, or

inaccurate information or statements to the Lender . . . in connection with the Loan.” 2 Ex. A ¶ 8.

II.     Status of the UBS Loan

        In his Second Supplemental Memorandum, Manafort represented that he made payments

to UBS on February 2 and 8 to bring his mortgage on the Trump Tower condominium – which

was previously past due – current. Manafort also submitted bank statements in support of this

representation. The government has consulted with counsel for UBS, who has indicated as late as

the date of this filing that the bank’s records do not reflect any recent payments from Manafort and

the account remains past due. The government respectfully submits that the Trump Tower

condominium is not suitable security for a bond unless and until the account reflects as current.

III.    The        Collateral Account

        With Manafort’s latest submission, the parties now agree that the                 held in an

account with TFSB is held as collateral for the Union Street loan, rather than the Bridgehampton

loan.




2
  Manafort, in a filing in his separate civil lawsuit, protested that the government “threaten[ed] to
bring additional charges against Mr. Manafort in venues outside the District of Columbia,”
presumably a reference to proposed bank fraud charges. See Dkt. No. 24 at 2, Manafort v. DOJ,
No. 1:18-cv-11 (ABJ). Far from threatening defendant, the government advised defense counsel
of the nature of proposed charges as part of an offer to entertain any arguments from defense
counsel, whether factual, legal, or discretionary, about why charges should not be brought – a
standard practice the government followed both before bringing the instant indictment and in
connection with bank fraud evidence discussed above. And in connection with the latter, the
government sat down with defense counsel to discuss the nature of the proposed charges and the
evidence thereon. Moreover, as the Court is aware, and has confirmed itself with Manafort’s
counsel, Manafort has elected not to waive venue to permit all charges to be brought before Your
Honor. It is thus disingenuous to suggest that the government is threatening to bring charges
outside the district.
                                                3
       Case 1:17-cr-00201-ABJ Document 191-1 Filed 02/22/18 Page 4 of 4




                                          Respectfully submitted,

                                          ROBERT S. MUELLER III
                                          Special Counsel

Dated: February 20, 2018            By:   __/s/_Andrew Weissmann__________
                                          Andrew Weissmann
                                          Greg D. Andres (D.D.C. Bar No. 459221)
                                          Kyle R. Freeny
                                          U.S. Department of Justice
                                          Special Counsel’s Office
                                          950 Pennsylvania Avenue NW
                                          Washington, DC 20530
                                          Telephone: (202) 616-0800

                                          Attorneys for the United States of America




                                     4
